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15
                                 IN THE UNITED STATES DISTRICT COURT
16
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
17

18
      CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-CV-04155-YGR
19    PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
      A.S.; and L.T., individuals on behalf of themselves    DECLARATION OF SUSAN M.
20    and all others similarly situated,                     BEATY IN SUPPORT OF
                                                             PLAINTIFFS’ MOTION FOR
21                   Plaintiffs,                             TEMPORARY RESTRAINING
22           v.                                              ORDER

23    UNITED STATES OF AMERICA FEDERAL
      BUREAU OF PRISONS, et al.,
24
                     Defendants.
25

26

27

28

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 1          I, Susan M. Beaty, hereby declare as follows:

 2          1.      I am an attorney duly admitted to practice before this Court. I am a senior
 3
     attorney at California Collaborative for Immigrant Justice (CCIJ), counsel of record for
 4
     Plaintiffs. I have personal knowledge of the facts set forth herein, and if called as a witness, I
 5
     could competently so testify. I make this declaration in support of Plaintiffs’ Motion for
 6
     Temporary Restraining Order.
 7

 8          2.      Attached hereto as Exhibits 1-20 are a sample of CorrLinks messages received by

 9   Plaintiffs’ counsel from class members.
10   3.     The class member experiences described in the “Facts” section of the Plaintiffs’ Motion
11
     are based on communications from class members to Plaintiffs’ counsel between April 14 and
12
     April 19, 2024, and a legal visit with class members on April 17, 2024 at the FCI. Between April
13
     14, 2024 and April 19, 2024, Plaintiffs’ counsel received numerous voicemails, CorrLinks
14

15   messages, and phone calls (memorialized through contemporaneous notes) from dozens of class

16   members.

17   3.     I conferred with my co-counsel in this matter from Rights Behind Bars, Rosen Bien
18
     Galvan & Grunfeld, LLP, and Arnold & Porter to compile these communications with class
19
     members, of which only a limited sample is included in Plaintiffs’ Motion.
20
     4.     Because of the emergency nature of this motion, the continued mass transfer of class
21
     members, and limitations on access to counsel, we were unable to prepare formal declarations
22

23   with class members. If the Court so chooses, my co-counsel and I are able to prepare additional

24   declarations or witness testimony regarding these experiences.

25   5.     Incarcerated people report that staff are narrowly focused on transferring as many people
26
     as soon as possible, and they are not taking appropriate care in an effort to empty the prison “by
27

28
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 1   Friday.” Class members have been fully processed for transfer, only to be returned to their

 2   dorms, sometimes multiple times in a single day.
 3
     6.       This morning a group of over 20 people were removed from their unit to be shipped out–
 4
     as they were being processed, they had limited access to food, water, or the toilet, and at one
 5
     point were all placed in a single holding cell, only to be returned to their dorm seven hours
 6
     later.
 7

 8   7.       Another group of people sat on a bus, shackled, for over three hours straight before

 9   unloading.
10   8.       One woman shared that after she was pulled for transfer on Monday, she was strip
11
     searched and forced to remove her tampon in front of two officers. She was not provided any
12
     materials to clean herself with, or any menstrual products for the journey, and sat in the bus
13
     bleeding on herself for hours before being returned to her dorm; she has not had access to her
14

15   belongings or clean underwear for four days.

16   9.       Another class member was designated for transfer and processed for hours today, then

17   returned to the Camp this evening without any of her possessions, including her medications.
18
     10.      Staff themselves acknowledge these deficiencies–class members report that officers
19
     asked a group of women waiting to be loaded on the bus “where are you being transported to?”
20
     while other officers characterized the rushed transfers as a “mess” and a “disaster.”
21
     11.      Counsel has also received numerous reports that BOP continues to transfer class
22

23   members who are eligible for release, including to home confinement or a halfway house, or

24   through compassionate release. In one case, BOP officials including the Warden insisted that a

25   class member and witness was not eligible for release and was to be transferred, at first to
26
     another prison and then to a halfway house–only after repeated intervention by Plaintiffs’
27
     counsel and the special master was she appropriately classified for immediate release.
28
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 1   12.     lass members reported serious issues with Dublin’s systems for tracking potential

 2   release. One class member reported that the last time she was “teamed,” her counselor showed
 3
     her an empty folder and told her that there was no documentation of any of her programming or
 4
     certificates even though she had completed numerous classes and programs over the years.
 5
     13.     Another individual reported that she applied for and was approved for compassionate
 6
     release last year by Warden Jusino, but was told Dublin has no record of her request or the
 7

 8   warden’s approval.

 9   14.     Plaintiffs’ counsel are aware of numerous people who have been transferred with pending
10   compassionate release requests, including at least five survivors of Dublin staff sexual assault.
11
     15.      Counsel have also spoken with multiple noncitizens who are currently eligible for
12
     release to home confinement or halfway house, but have been erroneously told they do not
13
     qualify because of their immigration status, and are instead slated for transfer. Counsel has also
14

15   received many reports of people designated or transferred to the opposite coast, hundreds or

16   thousands of miles from their families and children.

17   16.     Many class members also report serious issues with confiscation and transportation of
18
     property. On Monday and Tuesday, BOP staff instructed class members to throw away all of
19
     their property that did not fit in a single bag. Many distraught class members were forced to
20
     throw away sentimental possessions (like family photographs, letters, and books), items of
21
     significant monetary value (like clothing and shoes), and even medications. The process was
22

23   later modified, and class members were allowed to pack a single bag, and ship one box home, or

24   pay to ship additional boxes if they could afford postage (many cannot). Staff were to “pack

25   out” the bag in front of people, providing documentation of the process and any discarded
26
     items. As of today, staff are “packing out” property outside the presence of incarcerated people,
27
     who have no way of knowing what was actually packed and what was thrown away, and staff are
28
                                                      3
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 1   not providing any documentation of this process. Multiple class members were not offered the

 2   opportunity to ship possessions home. Once people are “packed out” they no longer have access
 3
     to their possessions–some people have now been without extra clothes, hygiene, and medications
 4
     for three days. One class member reported she was processed for transfer–including being strip
 5
     searched and handcuffed–and when she returned to her dorm hours later, staff told her they
 6
     “lost” her bag.
 7

 8   17.      Class members report that BOP has medically cleared people with unmet medical needs,

 9   and has even transported people without medical clearance. Multiple distraught class members
10   in the FCI recounted that, while a group of over 20 individuals waited in a small holding cell to
11
     board a bus, a BOP medical provider came and read out the names of four people who needed to
12
     be medically cleared–but those four individuals were long gone from the facility.
13
     18.     Multiple people at the Camp called to say that staff were repeatedly paging a class
14

15   member, J.G., over the loudspeaker for her medical clearance appointment, hours after J.G. had

16   already been transferred.

17   19.     One sexual assault survivor who has been awaiting a cardiologist appointments for
18
     months following a major cardiac event, and who was approved for compassionate release last
19
     year, was reportedly transferred this afternoon without proper medical clearance.
20
     20.     Several class members who were medically cleared described a cursory process where
21
     BOP providers reviewed existing medical records, took vital signs, and declared them “cleared,”
22

23   without apparent oversight. Providers asked questions about documented medical conditions,

24   but did not address undocumented and untreated medical needs.

25   21.     One individual shared that she was cleared in less than ten minutes, despite the fact that
26
     she has serious liver and heart conditions and an outstanding cardiology appointment, and is
27

28
                                                      4
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 1   currently experiencing chest pains, all documented in her pending compassionate release

 2   request.
 3
     22.        One transgender class member reported that he was cleared and transported despite
 4
     being days overdue for his testosterone shot.
 5
     23.        Class members report that there is functionally no medical or mental
 6
     healthcare. Plaintiffs’ counsel has received countless calls from sobbing clients, describing
 7

 8   scenes of people having breakdowns across housing units. Thursday morning, a group of class

 9   members called for psychology, and despite being told someone would come see them in fifteen
10   minutes, no one ever did.
11
     24.     One survivor of staff sexual assault who has been held in solitary confinement for over
12
     two weeks was taken to suicide watch on Tuesday; she has not seen a psychiatrist, and as of this
13
     evening she is only one of three people left in the SHU, and has not received fresh linens or
14

15   hygiene products as required.

16   25.        Another survivor of staff sexual assault has had major panic attacks every day this week,

17   and suffered a seizure on Tuesday; when medical staff finally came to check on her the following
18
     morning, the officer yelled at her: “don’t start with your bullshit.”
19
     26.     One elderly class member has had a migraine for weeks, and is currently experiencing
20
     dizziness in her hands and arms. She has sent emails and messages, and even went to the
21
     medical office twice to seek care, but has not been seen; multiple people called to express
22

23   concern for her, and her family has called BOP to no avail. Class members and loved ones

24   continue to express concern for I.C., an 80 year old woman with serious health conditions who

25   has been designated for transfer.
26
     27.     Class members also report intense retaliation and hostility from staff, who blame
27
     incarcerated people for Dublin’s closure. Multiple women reported that CO Morasco screamed at
28
                                                        5
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 1   a group of people in their housing unit, yelling, “it’s your fault that Dublin is closing” and “this

 2   is what you wanted.” Last night, as guards yelled at women in a housing unit, the women raised
 3
     concerns about how they were being treated, and the guards threatened to throw them all in
 4
     SHU.
 5
     28.     Various staff have reportedly made public, derogatory comments about both the Court
 6
     and the special master to incarcerated people. One guard complained that “the judge shouldn’t
 7

 8   mess with BOP.” Class members report that temporary, outside staff are not wearing name tags,

 9   and therefore cannot be identified.
10

11
             I declare under penalty of perjury that the foregoing is true and correct. Executed in
12
     Oakland, CA on this 19th day of April, 2024.
13

14
                                                    By: /s/ Susan M. Beaty
15                                                      Susan M. Beaty

16                                                  Attorneys for Plaintiffs
17

18
     Civil L.R. 5-1(i)(3) Attestation:
19
             I Kara J. Janssen attest that the other signatory concurred in the filing of this document.
20

21
                                                    By: /s/ Kara J. Janssen
22                                                      Kara J. Janssen
23

24

25

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                                                       6
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